                Case 6:24-bk-03843-LVV               Doc 97    Filed 02/26/25       Page 1 of 1

[Dostkamd] [Order Striking Amendment To Schedules]




                                        ORDERED.
Dated: February 26, 2025




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                           Case No.
                                                                                 6:24−bk−03843−LVV
                                                                                 Chapter 7

Chaim Levilev




                   Debtor*                      /

                         ORDER STRIKING AMENDED VOLUNTARY PETITION

   THIS CASE came on for consideration, without hearing, of the Amended Voluntary Petition filed February
24, 2025, Doc. No. 95. The Amended Voluntary Petition is deficient as follows:

         The proof of service does not refer to the Amendment being served. Local Rules 1009−1(e)
         and 9013−3(f).

         .

   Accordingly, it is ORDERED:

   The Amended Voluntary Petition is stricken without prejudice and with leave to refile after having cured
these deficiencies.

The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
